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               Case: 16-16492 Date Filed: 04/24/2020 Page: 1 of 2



                                                          [DO NOT PUBLISH]



               IN THE UNITED STATES COURT OF APPEALS

                       FOR THE ELEVENTH CIRCUIT
                         ________________________

                               No. 16-16492
                         ________________________

                  D.C. Docket No. 8:14-cv-01732-VMC-TBM



 NORIS BABB,

                                                            Plaintiff - Appellant,


                                    versus


 SECRETARY, DEPARTMENT OF VETERANS AFFAIRS,

                                                          Defendant - Appellee.

                         ________________________

                  Appeal from the United States District Court
                      for the Middle District of Florida
                        ________________________

                                (April 24, 2020)

   ON REMAND FROM THE SUPREME COURT OF THE UNITED STATES
Case 8:14-cv-01732-VMC-TBM Document 103 Filed 04/28/20 Page 2 of 3 PageID 2904
               Case: 16-16492 Date Filed: 04/24/2020 Page: 2 of 2



 Before ED CARNES, Chief Judge, NEWSOM and SILER,* Circuit Judges.

 PER CURIAM:

        Dr. Noris Babb appeals the district court’s grant of summary judgment on

 each of her claims in this case, which she raises under Title VII of the Civil Rights

 Act of 1964, 42 U.S.C. § 2000e et seq., and the Age Discrimination in

 Employment Act of 1967, 29 U.S.C. § 621 et seq.

        Consistent with—and for the reasons stated in—our previous opinion, see

 Babb v. Sec’y, Dep’t of Veterans Affairs, 743 F. App’x 280 (11th Cir. 2018), we

 affirm the district court’s grant of summary judgment on Babb’s Title VII

 retaliation claim and hostile-work-environment claim, and we reverse and remand

 the district court’s grant of summary judgment on Babb’s Title VII gender-

 discrimination claim. In light of the Supreme Court’s recent ruling in this case,

 however, see Babb v. Wilkie, 589 U.S. ___ (2020), we now reverse the district

 court’s grant of summary judgment on Babb’s ADEA age-discrimination claim

 and remand for consideration consistent with the Supreme Court’s opinion.

        AFFIRMED in part; REVERSED and REMANDED in part.




 *
  Honorable Eugene E. Siler, Jr., United States Circuit Judge for the Sixth Circuit, sitting by
 designation.
                                                  2
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               Case: 16-16492 Date Filed: 04/24/2020 Page: 1 of 1


                           UNITED STATES COURT OF APPEALS
                              FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

 David J. Smith                                                                     For rules and forms visit
 Clerk of Court                                                                     www.ca11.uscourts.gov


                                          April 24, 2020

 MEMORANDUM TO COUNSEL OR PARTIES

 Appeal Number: 16-16492-EE
 Case Style: Noris Babb v. Secretary, Department of Veter
 District Court Docket No: 8:14-cv-01732-VMC-TBM

 Enclosed is a copy of this court's decision filed today in this appeal on remand from the
 Supreme Court of the United States.

 For questions concerning the issuance of the decision of this court, please call the number
 referenced in the signature block below. For all other questions, please call Elora Jackson, EE at
 (404) 335-6173.

 Sincerely,

 DAVID J. SMITH, Clerk of Court

 Reply to: Jeff R. Patch
 Phone #: 404-335-6151

                                                           OPIN-6 Issuance of Opinion Remand SC
